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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

BED-VILLAGE OAKS, LLC AND                        §
326 COLONIAL APARTMENT                           §
COMPLEX, LLC                                     §
                                                 §
     Plaintiffs,                                 §
                                                 §    CIVIL ACTION NO. 3:17-CV-0553-G
v.                                               §
                                                 §
SENECA SPECIALTY INSURANCE                       §
COMPANY,                                         §
                                                 §
     Defendant.                                  §



        DEFENDANT SENECA SPECIALTY INSURANCE COMPANY’S
 MOTION TO DISMISS PLAINTIFF 326 COLONIAL APARTMENT COMPLEX, LLC



TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

        Defendant Seneca Specialty Insurance Company (“Seneca”) requests that this Court

dismiss the claims asserted by Plaintiff 326 Colonial Apartment Complex, LLC (“Colonial”)

because it lacks standing to assert them. Seneca issued an insurance policy to Plaintiff BED-

Village Oaks, LLC, which later reported two claims for fire damage at the property. Seneca paid

those claims, but in the process of investigating them, Plaintiff BED-Village Oaks, LLC sold the

property at issue to Plaintiff 326 Colonial Apartment Complex, LLC (“Complex”). Neither

Plaintiff notified Seneca of the sale, nor did they attempt to obtain its consent to any transfer of

rights under the Policy it had issued to Plaintiff BED-Village Oaks, LLC. The terms of the

insurance policy specifically prohibit such assignments without Seneca’s prior, written consent.

Texas courts also recognize that the inability to transfer claims under an insurance policy means

that the purchaser of the property lacks standing to assert any claims under it. Accordingly,

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Defendant Seneca Specialty Insurance Company, Inc. requests that this Court dismiss the claims

asserted against it by Plaintiff 326 Colonial Apartment Complex, LLC due to a lack of standing.

                                            Respectfully submitted,
                                            THOMPSON, COE, COUSINS & IRONS, L.L.P.

                                            By: /s/
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ATTORNEYS FOR
SENECA INSURANCE COMPANY



                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing instrument was served via
the Court’s electronic notification system on the following counsel of record:

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                                         /s/
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